                 Case 01-01139-AMC         Doc     Filed 06/08/21      Page 1 of 1




                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE


 In re:                                               Chapter 7

 Park Place Development Primary, LLC,                 Case No. 21-10849 (CSS)

                 Alleged Debtor.


                 MOTION AND ORDER FOR ADMISSION PRO HAC VICE

       Pursuant to Local Rule 9010-1 and the attached certification, counsel moves the
admission pro hac vice of Gary L. Rubin, Esq. of Venable LLP to represent Permasteelisa North
America Corp. in this action.

Dated: June 8, 2021                                   VENABLE LLP

                                                      /s/ Daniel A. O’Brien
                                                      Daniel A. O’Brien (No. 4897)
                                                      1201 North Market Street, Suite 1400
                                                      Wilmington, Delaware 19801
                                                      Tel: (302) 298-3535
                                                      Fax: (302) 298-3550
                                                      daobrien@venable.com

            CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

        Pursuant to Local Rule 9010-1(b), I certify that I am eligible for admission to this Court,
am admitted, practicing and in good standing as a member of the Bar of the State of New York
and submit to the disciplinary jurisdiction of this Court for any alleged misconduct which occurs
in the preparation or course of this action. I also certify that I am generally familiar with this
Court’s Local Rules and with the Standing Order for the District Court Fund revised August 31,
2016. I further certify that the annual fee of $25.00 has been paid to the Clerk of the Court for the
District Court.

June 8, 2021                                          /s/ Gary L. Rubin
                                                      Gary L. Rubin
                                                      VENABLE LLP
                                                      1270 Avenue of the Americas, 24th Floor
                                                      New York, New York 10020
                                                      Tel: (212) 307-5500
                                                      glrubin@venable.com

                           ORDER GRANTING MOTION
          IT IS HEREBY ORDERED that counsel’s motion for admission pro hac vice is granted.
